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       572.   GSK admits that, with the exception of Urispas and Zofian, the medicines

identified in Paragraph 572 of the AMCC are or have been manufactured by GSK and are or

have been covered by the Together Rx Card Program. GSK further admits that Zofran, which is

not listed in Paragraph 572, is also covered by the Together Rx Card Program. GSK denies the

remaining allegations of Paragraph 572 of the AMCC.

       573-575. The allegations in Paragraphs 573 through 575 of the AMCC are directed to

other defendants and require no response from GSK. To the extent allegations in Paragraphs 573

through 575 of the AMCC are deemed to include allegations against GSK, they are denied.

       576.   To the extent the allegations in Paragraph 576 of the AMCC refer to the

knowledge, conduct or actions of persons, entities or defendants other than GSK, GSK is without

knowledge or information sufficient to form a belief as to the truth of those allegations and,

therefore, denies those allegations. GSK states that the unidentified document cited in Paragraph

576 of the AMCC is the best evidence of its contents. GSK admits that it encouraged eligible

poor, elderly Americans to enroll in the Together Rx Program, but denies the remaining

allegations in Paragraph 576 of the AMCC that pertain to it.

       577-583. To the extent the allegations in Paragraphs 577 through 583 of the AMCC refer

to the knowledge, conduct or actions of persons, entities or defendants other than GSK, GSK is

without knowledge or information sufficient to form a belief as to the truth of those allegations

and, therefore, denies those allegations. GSK states that the unidentified document cited in

Paragraph 577 of the AMCC, the website cited in Paragraph 578 of the AMCC, the April 10,

2002 press release cited in Paragraph 579 of the AMCC, the press release cited in Paragraph 580

of the AMCC, and the February 3, 2003, document and/or statement cited in Paragraph 583 of

the AMCC are the best evidence of their contents. GSK denies that Plaintiffs have accurately




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characterized any alleged finding, opinion, statement or conclusion contained in these documents

and/or statements. To the extent the remaining allegations in Paragraphs 577 through 583 of the

AMCC are deemed to include allegations against GSK, they are denied.

       584-594. GSK denies the allegations in Paragraphs 584 through 594 of the AMCC.

GSK specifically denies the existence of, and its participation in, any “conspiracy” as alleged in

Paragraph 587 of the AMCC. Answering further, GSK states that it did not report or cause to be

reported any AWP for any of its medicines during the period relevant to the allegations in

Paragraph 590 through 592 of the AMCC.

    VIII. CLASS ALLEGATIONS FOR THE PURPORTED “AWP PAYOR CLASS”

       595-596.     GSK admits that Plaintiffs purport to bring this action as alleged in

Paragraphs 595 through 596 of the AMCC, but GSK denies that Plaintiffs are entitled to

maintain this action in the manner alleged, or that Plaintiffs have pled a proper class or named

proper class representatives.

       597-603. The allegations in Paragraphs 597 through 603 of the AMCC state legal

conclusions to which no answer is required. GSK denies, however, that Plaintiffs have pled a

proper class or named proper class representatives, or that the allegations against GSK have any

basis in law or fact. Further answering, GSK denies that Plaintiffs or any putative class members

have suffered damages or injuries as alleged in Paragraphs 598 and 603 of the AMCC.

   IX. CLASS ALLEGATIONS FOR THE PURPORTED “TOGETHER RX CLASS”

       604-605.     GSK admits that Plaintiffs purport to bring this action as alleged in

Paragraphs 604 through 605 of the AMCC, but GSK denies that Plaintiffs are entitled to

maintain this action in the manner alleged.




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       606-607. The allegations in Paragraphs 606 through 607 of the AMCC state a legal

conclusion to which no answer is required. GSK denies, however, that Plaintiffs have pled a

proper class or named proper class representatives.

       608.    GSK is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 608 of the AMCC and, therefore, denies those allegations.

       609.    GSK admits that Plaintiffs purport to bring this action as alleged in Paragraph 609

of the AMCC, but GSK denies that Plaintiffs are entitled to maintain this action in the manner

alleged.

       610-614. The allegations in Paragraphs 610 through 614 of the AMCC state a legal

conclusion to which no answer is required. GSK denies, however, that Plaintiffs have pled a

proper class or named proper class representatives, or that the allegations against GSK have any

basis in law or fact. GSK denies that Plaintiffs or any putative class members have suffered

damages or injuries as alleged in Paragraph 611 of the AMCC. GSK further denies the existence

of, or its participation in, any “conspiracy” as alleged in Paragraph 612 through 613 of the

AMCC.

       615.    GSK denies that Plaintiffs and members of the Classes have suffered, and will

continue to suffer harm and damages, as a result of defendants’ alleged conduct. The remaining

allegations in Paragraph 615 of the AMCC state a legal conclusion to which no answer is

required. GSK denies, however, that Plaintiffs have pled a proper class.

       616-618. GSK denies the allegations in Paragraphs 616 through 618 of the AMCC.




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                                       COUNT I (RICO)

       619-646.     The Court dismissed Count I in its Order dated February 25, 2004.

Accordingly, GSK does not respond to Paragraphs 619 through 646 of the AMCC. To the extent

a response is required, GSK denies all allegations contained within Count I of the AMCC.

                                       COUNT II (RICO)

       647.    Answering Paragraph 647 of the AMCC, GSK realleges and incorporates its

responses to the allegations in Paragraphs 1 through 646 of the AMCC.

       648.    To the extent the allegations in Paragraph 648 of the AMCC refer to the

knowledge, conduct or actions of persons, entities or defendants other than GSK, GSK is without

knowledge or information sufficient to form a belief as to the truth of those allegations and,

therefore, denies those allegations. GSK admits that Plaintiffs purport to bring this action and to

seek relief under Count II of the AMCC as alleged in Paragraph 648, but GSK denies that

Plaintiffs are entitled to maintain this action as alleged or to any relief against GSK under Count

II. GSK denies the remaining allegations in Paragraph 648 of the AMCC.

       649.    The allegations in Paragraph 649 of the AMCC state a legal conclusion to which

no answer is required. GSK denies, however, that Plaintiffs have pled a proper class.

       650.    To the extent the allegations in Paragraph 650 of the AMCC and subparts state

legal conclusions, GSK avers that no answer is required.         GSK is without knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 650 and subparts and, therefore, denies those allegations.

       651-655. GSK denies the existence of, or its participation in, any “enterprise,” “AWP

Scheme,” or “hidden-profitmaking scheme” as alleged in Paragraphs 651 through 655 of the

AMCC. To the extent the allegations in Paragraphs 651 through 655 of the AMCC refer to the




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knowledge, conduct or actions of persons, entities or defendants other than GSK, GSK is without

knowledge or information sufficient to form a belief as to the truth of those allegations and,

therefore, denies those allegations. GSK states that the unidentified “industry report” cited in

Paragraph 655 of the AMCC is the best evidence of its contents. GSK denies that Plaintiffs have

accurately characterized any alleged “industry report” finding, opinion, statement or conclusion.

GSK denies the remaining allegations in Paragraphs 651 through 655 that pertain to it.

       656-679. GSK denies the existence of, or its participation in, any “enterprise,” “AWP

spread scheme,” “AWP Scheme,” “The GSK Group Manufacturer-PBM Enterprise” and/or

“Manufacturer-PBM Enterprise” as alleged in Paragraphs 656 through 679 of the AMCC. To

the extent the allegations in Paragraphs 656 through 679 of the AMCC refer to the knowledge,

conduct or actions of persons, entities or defendants other than GSK, GSK is without knowledge

or information sufficient to form a belief as to the truth of those allegations and, therefore, denies

those allegations. To the extent the allegations in Paragraphs 656 through 679 of the AMCC

include allegations against GSK, they are denied.

                           COUNT III (DECLARATORY RELIEF)

       680.    Answering Paragraph 680 of the AMCC, GSK realleges and incorporates its

responses to the allegations in Paragraphs 1 through 679 of the AMCC.

       681.    The allegations in Paragraph 681 of the AMCC state legal conclusions to which

no response is required. To the extent a response is required, GSK denies that Plaintiffs have

standing to bring this action, and denies that an actual case and controversy exists. To the extent

the allegations in Paragraph 681 of the AMCC refer to the knowledge, conduct or actions of

persons, entities or defendants other than GSK, GSK is without knowledge or information




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sufficient to form a belief as to the truth of those allegations and, therefore, denies those

allegations. GSK denies the allegations in Paragraph 681 of the AMCC that pertain to it.

       682. GSK denies the allegations in Paragraph 682 of the AMCC to the extent they are

directed at GSK, and denies knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 682 as to the other parties and entities.

       683. GSK states that Paragraph 683 of the AMCC consists of a conclusion of law to

which no response is required, otherwise denies the allegations in Paragraph 683 to the extent

that they are directed at GSK, and denies knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 683 as to the other parties and entities.

                   COUNT IV (CONSUMER PROTECTION STATUTES)

       684.    Answering Paragraph 684 of the AMCC, GSK realleges and incorporates its

responses to the allegations in Paragraphs 1 through 683 of the AMCC.

       685. GSK admits that Plaintiffs purport to bring this action and to seek relief under

Count IV of the AMCC as alleged in Paragraph 685, but GSK denies that Plaintiffs are entitled

to maintain this action as alleged or to any relief against GSK under Count IV.

       686.    To the extent the allegations in Paragraph 686 of the AMCC refer to the

knowledge, conduct or actions of persons, entities or defendants other than GSK, GSK is without

knowledge or information sufficient to form a belief as to the truth of those allegations and,

therefore, denies those allegations. GSK admits that its principal place of business is located in

Philadelphia, Pennsylvania. GSK admits that certain states have enacted consumer protection

laws, but GSK denies that it has violated such laws or that Plaintiffs or any putative class

members are entitled to relief under such laws.




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       687-691. GSK denies the existence of, and its participation in, any “AWP scheme” as

alleged in Paragraph 687 of the AMCC. To the extent the allegations in Paragraphs 687 through

691 of the AMCC and subparts refer to the knowledge, conduct or actions of persons, entities or

defendants other than GSK, GSK is without knowledge or information sufficient to form a belief

as to the truth of those allegations and, therefore, denies those allegations. GSK denies the

remaining allegations in Paragraphs 687 through 691 of the AMCC and subparts that pertain to

it. GSK further denies that Plaintiffs or any putative class members have suffered damages or

injuries as alleged in Paragraphs 689 and 691 of the AMCC.

                      COUNT V (CLAYTON ACT – TOGETHER RX)

       692.    Answering Paragraph 692 of the AMCC, GSK realleges and incorporates its

responses to the allegations in Paragraphs 1 through 691 of the AMCC.

       693-694. GSK denies the allegations in Paragraphs 693 through 694 of the AMCC.

Specifically, GSK denies the existence of, and its participation in, any “conspiracy” as alleged in

Paragraph 694 of the AMCC.

       695.    The allegations in Paragraph 695 of the AMCC state a legal conclusion to which

no answer is required. To the extent a response is required, GSK denies the allegations in

Paragraph 695 of the AMCC, and specifically denies that it sold Together Card Drugs.

       696-698. GSK denies the allegations in Paragraphs 696 through 698 of the AMCC.

Specifically, GSK denies the existence of, and its participation in, any “conspiracy” as alleged in

Paragraph 696 of the AMCC. GSK further denies that Plaintiffs or any putative class members

have suffered damages or injuries as alleged in Paragraph 698 of the AMCC.




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                                COUNT VI (SHERMAN ACT)

       699.    Answering Paragraph 699 of the AMCC, GSK realleges and incorporates its

responses to the allegations in Paragraphs 1 through 698 of the AMCC.

       700-703. GSK denies the allegations in Paragraphs 700 through 703 of the AMCC,

including the existence of, and its participation in, any “conspiracy” as alleged in those

Paragraphs. GSK further denies that Plaintiffs or any putative class members have suffered

damages or injuries as alleged in Paragraph 703 of the AMCC.

       704.    GSK denies the allegations in Paragraph 704 of the AMCC.

                COUNT VII (INDIRECT PURCHASER – TOGETHER RX)

       705.    Answering Paragraph 705 of the AMCC, GSK realleges and incorporates its

responses to the allegations in Paragraphs 1 through 704 of the AMCC. GSK denies the

remaining allegations in Paragraph 705 of the AMCC.

       706-708. GSK denies the allegations in Paragraphs 706 through 708 of the AMCC and

subparts.

                          COUNT VIII (RICO – TOGETHER RX)

       709.    Answering Paragraph 709 of the AMCC, GSK realleges and incorporates its

responses to the allegations in Paragraphs 1 through 708 of the AMCC.

       710.    GSK admits that Plaintiffs purport to bring this action and to seek relief under

Count VII of the AMCC as alleged in Paragraph 710, but GSK denies that Plaintiffs are entitled

to maintain this action as alleged or to any relief against GSK under Count VII.

       711.    The allegations in Paragraph 711 state legal conclusions to which no response is

required. To the extent a response is required, GSK denies the allegations in Paragraph 711 of

the AMCC.




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       712-717. GSK denies the allegations in Paragraphs 712 through 717 of the AMCC that

pertain to it, except it admits that it is a participant in the Together Card Program. Specifically,

GSK denies the existence of, and its participation in, any “alliance,” “enterprise,” “Together Rx

Enterprise,” “scheme” or “Together Rx Scheme” as alleged in Paragraphs 712 through 717 of the

AMCC.

       718-719. GSK denies the allegations in Paragraphs 718 through 719 of the AMCC,

including the existence of, and its participation in, any “scheme,” “Together Rx Card Scheme,”

“enterprise” or “Together Rx Enterprise” as alleged in those Paragraphs.

       720-725. GSK denies the allegations in Paragraphs 720 through 725 of the AMCC.

Specifically, GSK denies the existence of, and its participation in, any “scheme” or “Together Rx

Card Scheme” as alleged in Paragraphs 720 through 725 of the AMCC. GSK further denies that

Plaintiffs or any putative class members have suffered damages or injuries as alleged in

Paragraph 724 of the AMCC.

                         COUNT IX (CIVIL CONSPIRACY – PBMs)

       726.    Answering Paragraph 726 of the AMCC, GSK realleges and incorporates its

responses to the allegations in Paragraphs 1 through 725 of the AMCC.

       727.    GSK admits that Plaintiff CMHV purports to bring this action as alleged in

Paragraph 727 of the AMCC, but GSK denies that Plaintiff CMHV is entitled to maintain this

action in the manner alleged or that CMHV is a proper class representative. GSK is without

knowledge or information sufficient to form a belief as to the truth of the remaining allegations

in Paragraph 727 of the AMCC and, therefore, denies those allegations.

       728-731. GSK denies the existence of, and its participation in, any “scheme,” “AWP

Scheme,” “conspiracy” or “The GSK Group Manufacturer-PBM Conspiracies” as alleged in




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Paragraphs 728 through 731 of the AMCC. To the extent the allegations in Paragraphs 728

through 731 of the AMCC and subparts refer to the knowledge, conduct or actions of persons,

entities or defendants other than GSK, GSK is without knowledge or information sufficient to

form a belief as to the truth of those allegations and, therefore, denies those allegations. GSK

denies the remaining allegations in Paragraphs 728 through 731 of the AMCC and subparts that

pertain to it.

        732-733. GSK denies the allegations in Paragraphs 732 through 733 of the AMCC.

Specifically, GSK denies that Plaintiffs or any putative class members have suffered damages or

injuries as alleged in Paragraph 733 of the AMCC.

                    COUNT X (CIVIL CONSPIRACY – TOGETHER RX)

        734.     Answering Paragraph 734 of the AMCC, GSK realleges and incorporates its

responses to the allegations in Paragraphs 1 through 733 of the AMCC.

        735.     GSK admits that Plaintiff CMHV purports to bring this action as alleged in

Paragraph 735 of the AMCC, but GSK denies that Plaintiff CMHV is entitled to maintain this

action in the manner alleged or that CMHV is a proper class representative. GSK is without

knowledge or information sufficient to form a belief as to the truth of the remaining allegations

in Paragraph 735 of the AMCC and, therefore, denies those allegations.

        736-741. GSK denies the allegations in Paragraphs 736 through 741 of the AMCC.

Specifically, GSK denies the existence of, and its participation in, any “conspiracy” as alleged in

Paragraphs 736 through 741 of the AMCC. GSK further denies that Plaintiffs or any putative

class members have suffered damages or injuries as alleged in Paragraph 741 of the AMCC.




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               PRAYER FOR RELIEF AND DEMAND FOR JURY TRIAL

       GSK denies Plaintiffs are entitled to a judgment or any other relief requested in their

Prayer for Relief and “WHEREFORE” paragraph following Paragraph 741 of the AMCC.


                                          DEFENSES

       Without assuming the burden of proof of such defenses that it would not otherwise have,

GSK affirmatively asserts the following defenses:


                                          First Defense

       Plaintiffs and the putative class fail to state a claim against GSK upon which relief may

be granted.

                                         Second Defense

       Plaintiffs’ and the putative class’ claims are barred, in whole or in part, by the political

question and separation of powers doctrines.

                                         Third Defense

       Plaintiffs’ and the putative class’ claims are barred, in whole or in part, by the filed rate

doctrine.

                                         Fourth Defense

       Plaintiffs and the putative class have not suffered, and will not suffer, any injury to a

legally protected or cognizable interest by reason of the conduct of GSK as alleged in the

AMCC.




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                                             Fifth Defense

        To the extent Plaintiffs and/or any member of the putative class obtain recovery in any

other case predicated on the same factual allegations, that Plaintiff or purported class member is

barred from seeking recovery against GSK based on the AMCC pursuant to the doctrines of res

judicata and collateral estoppel, and the prohibition on double recovery for the same injury.

                                             Sixth Defense

        Plaintiffs’ and the putative class’ claims are barred, in whole or in part, by the First

Amendment to the United States Constitution and the analogous provisions of the Constitutions

of the States of California, Delaware, Florida, Illinois, Louisiana, Minnesota, New Jersey, New

York, Pennsylvania, Texas, Washington and any other States whose laws are or become relevant

in the course of this multidistrict litigation.

                                           Seventh Defense

        Plaintiffs’ and the putative class’ claims are barred, in whole or in part, by the Noerr-

Pennington doctrine to the extent that such claims are premised, in whole or in part, on alleged

statements or conduct by GSK in judicial, legislative or administrative proceedings of any kind

or at any level of government.

                                            Eighth Defense

        Plaintiffs’ and the putative class’ claims are barred, in whole or in part, to the extent that

Plaintiffs and the putative class members have released, settled, entered into an accord and

satisfaction or otherwise compromised their claims.

                                             Ninth Defense

        Any and all actions taken by GSK with respect to any of the matters alleged in the

AMCC were taken in good faith and in accordance with established industry practice.




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                                            Tenth Defense

          Plaintiffs’ and the putative class’ state law claims are preempted, in whole or in part, by

federal law, including without limitation the Federal Employment Retirement Income and

Security Act of 1974, the Federal Medicare Act, and the Federal Medicaid Act, including all

amendments to the same and all regulations promulgated thereunder.

                                          Eleventh Defense

          Plaintiffs’ and the putative class’ claims are preempted by the dormant Commerce Clause

of the United States Constitution.

                                           Twelfth Defense

          Plaintiffs’ and the putative class’ claims against GSK are barred because GSK has

complied with all applicable regulations of the federal and state governments.

                                         Thirteenth Defense

          Plaintiffs’ and the putative class’ claims against GSK are barred, in whole or in part, by

the applicable statutes of limitations and repose, and by the doctrines of laches, estoppel, and

waiver.

                                         Fourteenth Defense

          Plaintiffs’ and the putative class’ claims are barred, in whole or in part, because they

violate GSK’s rights under the Due Process and Ex Post Facto clauses of the United States

Constitution, as well as all applicable state constitutions, insofar as Plaintiffs and the putative

class members seek to impose liability retroactively for conduct that was not actionable at the

time it occurred.

                                          Fifteenth Defense

          GSK’s statements or actions were not the proximate cause or cause in fact of any injury

to or alleged loss by Plaintiffs or the putative class.


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                                        Sixteenth Defense

       Plaintiffs and the putative class fail to state with particularity facts to support the fraud

allegations, and fail to plead with particularity the fraudulent concealment and multi-source

medicine allegations against GSK contained in the AMCC.

                                      Seventeenth Defense

       Plaintiffs and the putative class fail to allege with particularity their civil conspiracy

claims against GSK as required by Fed. R. Civ. P. 9(b).

                                       Eighteenth Defense

       Plaintiffs’ and the putative class’ claims against GSK are barred, in whole or in part,

because GSK did not make any false statements to Plaintiffs or to any members of the putative

class members. As to any statement asserted against GSK that Plaintiffs and the putative class

allege to be false or misleading, GSK had no reasonable grounds to believe, and did not believe

at the time such a statement was made, that the statement was false or misleading.

                                       Nineteenth Defense

       Plaintiffs’ and the putative class’ claims against GSK are barred because GSK did not

directly or indirectly conspire with any other entity or engage in any other conduct in violation of

state or federal law.

                                       Twentieth Defense

       Plaintiffs’ and the putative class’ RICO claims against GSK are barred, in whole or in

part, due to Plaintiffs’ failure to properly allege a RICO enterprise as required by 18 U.S.C. §

1962(c).




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                                     Twenty-First Defense

       Plaintiffs’ and the putative class’ RICO claims against GSK are barred, in whole or in

part, due to their failure to plead facts showing that GSK and the PBMs are ongoing

organizations whose members function as a continuing unit and share common purposes as

required by United States v. Turkette, 452 U.S. 576, 583 (1981).

                                    Twenty-Second Defense

       Plaintiffs’ and the putative class’ RICO claims against GSK are barred, in whole or in

part, due to their failure to allege that GSK conducted the affairs of the alleged enterprises as

required by 18 U.S.C. § 1962(c).

                                    Twenty-Third Defense

       Plaintiffs and the putative class lack standing to bring their RICO claims against GSK

because they cannot show GSK directly caused their alleged injuries as required by 18 U.S.C. §

1964(c) and Holmes v. Securities Investor Prot. Corp., 503 U.S. 258, 265-66, 268 (1992).

                                    Twenty-Fourth Defense

       Plaintiffs’ and the putative class’ civil conspiracy claims against GSK are barred, in

whole or in part, by their failure to allege a concerted action as required by Aetna Cas. Sur. Co.

v. P&B Autobody, 43 F.3d 1546, 1564 (1st Cir. 1994) and Grant v. John Hancock Mut. Life Ins.

Co., 183 F. Supp. 2d 344, 359 (D. Mass. 2002), and/or by their failure to allege a coercive

conspiracy as required by Fleming v. Dance, 22 N.E.2d 609, 611 (Mass. 1939).

                                     Twenty-Fifth Defense

       Plaintiffs’ and the putative class’ civil conspiracy claims against GSK are barred, in

whole or in part, because they are duplicative and improper under Massachusetts law. See

Grant, 183 F. Supp. 2d at 364.




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                                     Twenty-Sixth Defense

       GSK denies that Plaintiffs and the putative class have valid consumer protection claims

against GSK under California, Delaware, Florida, Illinois, Louisiana, Minnesota, New Jersey,

New York, Pennsylvania, Texas, Washington or any other State whose law is or becomes

relevant in the course of this multidistrict litigation. However, if such claims are found to exist,

GSK pleads all available defenses under the Acts.

                                    Twenty-Seventh Defense

       Any allegedly fraudulent statements or conduct of GSK did not directly or proximately

cause the alleged injuries of Plaintiffs and/or any members of the putative class as required under

state consumer protection laws, including without limitation those of Florida, Illinois, Louisiana,

New Jersey, New York, Pennsylvania, Texas and Washington.

                                     Twenty-Eighth Defense

       GSK’s conduct was neither “deceptive,” “misleading,” “unlawful” nor “illegal” as

required under certain state consumer protection laws, including without limitation those of

Delaware, Florida, Illinois, Louisiana, Minnesota, New Jersey, New York, Texas and/or

Washington.

                                     Twenty-Ninth Defense

       To the extent that Plaintiffs and the putative class members attempt to seek equitable

relief against GSK, they are not entitled to such relief because they have an adequate remedy at

law.

                                        Thirtieth Defense

       Plaintiffs and the putative class lack standing to bring their asserted consumer protection

claims against GSK under certain state consumer protection laws, including without limitation

those of Delaware, Florida, Louisiana, New Jersey, Pennsylvania and Washington.


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                                       Thirty-First Defense

       Plaintiffs and the putative class did not rely on the allegedly fraudulent statements or

conduct of GSK as required under certain state consumer protection laws, including without

limitation those of New York and Pennsylvania.

                                     Thirty-Second Defense

       Any allegedly fraudulent statement or conduct of GSK was not consumer-oriented as

required under certain consumer protection law, including without limitation that of New York.

                                      Thirty-Third Defense

       Plaintiffs’ and the putative class’ claims against GSK for injunctive relief were mooted

by the passage of the 2003 Medicare reform legislation.

                                     Thirty-Fourth Defense

       Plaintiffs’ and the putative class’ claims for injunctive relief against GSK are barred by

the doctrines of in pari delicto and/or unclean hands.

                                       Thirty-Fifth Defense

       This action cannot be maintained as a class action because (1) the certification and

maintenance of this action as a class would violate the separation of powers provisions of the

United States Constitution and would be an unconstitutional usurpation of authority reserved to

the legislative branch; (2) the claims of Plaintiffs and the putative class cannot be properly joined

with one another because they did not arise out of the same transaction, occurrence, or series of

transactions or occurrences; (3) the named Plaintiffs and the putative class cannot satisfy the

procedural requirements of Fed. R. Civ. P. 23; (4) the questions of fact at issue are not common

to the alleged class, but rather, are highly specific and will vary dramatically from person to

person and entity to entity; and/or (5) class certification would violate GSK’s rights provided by

the Fifth, Seventh and Fourteenth Amendments to the United States Constitution as well as by


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the Constitutions of the States of California, Delaware, Florida, Illinois, Louisiana, Minnesota,

New Jersey, New York, Pennsylvania, Texas, Washington and any other States whose laws are

or become relevant in the course of this multidistrict litigation, including but not limited to

GSK’s right to procedural and substantive safeguards, which include traditional defenses to

liability.

                                       Thirty-Sixth Defense

        Plaintiffs’ and the putative class’ antitrust claims against GSK: (1) are barred because

they have not suffered any antitrust injury; (2) are barred in whole or in part for lack of standing;

and/or (3) should be dismissed because the alleged conspiracy does not make economic sense

and is economically implausible.

                                      Thirty-Seventh Defense

        Any alleged restraints complained of in the AMCC are ancillary to legitimate,

procompetitive activity.

                                      Thirty-Eighth Defense

        GSK’s conduct was not intended to have, did not have and was not likely to have had any

adverse effects on competition in any relevant market.

                                       Thirty-Ninth Defense

        Plaintiffs’ and the putative class’ claims against GSK under Section 1 of the Sherman

Act, 15 U.S.C. § 1, are barred to the extent recovery is based on indirect purchases of medicines.

                                          Fortieth Defense

        Plaintiffs’ and the putative class’ antitrust claims against GSK under the various state

antitrust statutes are barred in whole or in part to the extent those statutes (1) do not allow (or did

not allow at the time the conduct was alleged herein) recovery of damages by indirect

purchasers; and (2) do not govern conduct that is predominantly interstate in nature.


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                                        Forty-First Defense

          Plaintiffs’ and the putative class’ antitrust claims against GSK under the various state

unfair trade and competition statutes are barred in whole or in part to the extent those statutes

(1) do not allow (or did not allow at the time the conduct was alleged herein) recovery of

damages by indirect purchasers; and (2) do not govern conduct that is predominantly intrastate in

nature.

                                      Forty-Second Defense

          Plaintiffs’ and the putative class’ antitrust claims against GSK under the various state

consumer protection and consumer fraud statutes are barred in whole or in part to the extent

those statutes (1) do not allow (or did not allow at the time the conduct was alleged herein)

recovery of damages by indirect purchasers; and (2) do not govern conduct that is predominantly

intrastate in nature.

                                       Forty-Third Defense

          Plaintiffs’ and the putative class’ antitrust claims against GSK under the various state

unfair trade, unfair competition, consumer protection and consumer fraud statutes are barred to

the extent (1) those claims represent an impermissible circumvention of the states’ antitrust

statutes; and (2) those statutes apply only to deceptive or misleading conduct and/or govern only

consumer transactions.




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                                        Forty-Fourth Defense

        Third party payor plaintiffs’ and third party payor putative class members’ claims against

GSK are barred, in whole or in part, with respect to any alleged overcharge or supracompetitive

price on the ground that third party payors passed on any effect of the alleged supracompetitive

prices to their customers or employees in the form of higher premiums, co-pays or other charges.

                                         Forty-Fifth Defense

        Plaintiffs’ and the putative class’ claims against GSK are barred, in whole or in part, with

respect to any alleged overcharge or supracompetitive price because such supracompetitive price,

if any, was absorbed, in whole or part, by a person and/or entity which purchased the medicine

directly, and/or by an intermediate indirect purchaser, and was not passed through to the

Plaintiffs and putative class members.

                                         Forty-Sixth Defense

        Plaintiffs’ and the putative class’ claims against GSK are barred, in whole or in part, due

to their failure to join indispensable parties.

                                       Forty-Seventh Defense

        Plaintiffs’ and the putative class’ claims against GSK are barred, in whole or in part,

because they have suffered no damages as a result of the matters alleged in the AMCC.

                                        Forty-Eighth Defense

        Plaintiffs’ and the putative class’ claims are barred, in whole or in part, because any

injuries sustained by Plaintiffs or the putative class were the result of intervening or superceding

conduct of third parties.




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                                       Forty-Ninth Defense

       Plaintiffs’ and the putative class’ claims against GSK for damages are barred, in whole or

in part, (1) because they failed to mitigate their damages, and their failure to mitigate damages

should proportionately reduce the recovery of such persons and the allocation of any fault, if any

exists, attributable to GSK; (2) because they would be unjustly enriched if allowed to recover

any portion of the damages alleged in the AMCC; (3) by the doctrine of consent and/or

ratification to the extent that plaintiffs and/or putative class members have received and paid for

medicines manufactured, marketed and sold by GSK after the filing of Plaintiffs’ original

Complaint; and (4) because they are speculative and remote and because of the impossibility of

ascertaining and allocating those alleged damages.

                                         Fiftieth Defense

       GSK is entitled to a set-off, should any damages be awarded against it, for the entire

amount of all damages or settlement amounts recovered by Plaintiffs and/or the putative class,

with respect to the same alleged injuries.

                                        Fifty-First Defense

       Any damages recovered by the Plaintiffs and the putative class from GSK must be

limited by the applicable statutory ceilings on recoverable damages.

                                      Fifty-Second Defense

       Plaintiffs and the putative class fail to allege facts or a cause of action against GSK

sufficient to support a claim for attorneys’ fees, treble damages and/or legal fees.

                                       Fifty-Third Defense

       To the extent punitive damages are sought, Plaintiffs’ and the putative class’ punitive

damages claims against GSK: (1) have no basis in law or fact; (2) are not recoverable because

the allegations of the AMCC are legally insufficient to support a claim for punitive damages


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against GSK; (3) cannot be sustained because laws regarding the standards for determining

liability for and the amount of punitive damages fail to give GSK prior notice of the conduct for

which punitive damages may be imposed and the severity of the penalty that may be imposed

and are void for vagueness in violation of GSK’s due process rights guaranteed by the Fifth and

Fourteenth Amendments to the United States Constitution and the constitutions of any applicable

states’ laws; (4) cannot be sustained because any award of punitive damages exceeding the limits

authorized by the laws or other comparable laws would violate GSK’s due process and equal

protection rights guaranteed by the Fifth and Fourteenth Amendments to the United States

Constitution and would be improper under the constitutions, common law and applicable states’

laws; (5) cannot be sustained because an award of punitive damages in this case, combined with

any prior, contemporaneous, or subsequent judgments against GSK for punitive damages arising

from the design, development, manufacture, fabrication, distribution, supply, marketing, sale, or

use of GSK’s medicines would constitute impermissible multiple punishments for the same

wrong, in violation of GSK’s due process and equal protection rights guaranteed by the Fifth and

Fourteenth Amendments to the United States Constitution and would constitute double jeopardy

in violation of the constitutions, common law and statutory law of any applicable states’ laws;

(6) cannot be sustained because any award of punitive damages without the apportionment of the

award separately and severally between or among the alleged joint tortfeasors, as determined by

the alleged percentage of the wrong committed by each alleged tortfeasor, would violate GSK’s

due process and equal protection rights guaranteed by the Fifth and Fourteenth Amendments to

the United States Constitution and would be improper under the constitutions, common law and

public policies of any applicable states’ law; and (7) cannot be sustained because any award of

punitive damages, which are penal in nature, without according GSK the same protections that




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are accorded to all criminal defendants, including the protection against unreasonable searches

and seizures, the privilege against self-incrimination, and the rights to confront adverse

witnesses, a speedy trial, and the effective assistance of counsel, would violate GSK’s rights

guaranteed by the Fourth, Fifth, and Sixth Amendment as incorporated into the Fourteenth

Amendment to the United States Constitution and would be improper under the constitutions,

common law and public policies of any applicable states’ laws.

                                      Fifty-Fourth Defense

       To the extent punitive damages are sought, Plaintiffs’ and the putative class’ claim for

punitive damages against GSK cannot be sustained because an award of punitive damages by a

jury that:   (1) is not provided constitutionally adequate standards of sufficient clarity for

determining the appropriate imposition of, and the appropriate size of, a punitive damages award,

(2) is not adequately instructed on the limits of punitive damages imposed by the applicable

principles of deterrence and punishment, (3) is not expressly prohibited from awarding punitive

damages, or determining the amount of an award of punitive damages, in whole or in part on the

basis of invidiously discriminatory characteristics, including without limitation the residence,

wealth, and corporate status of GSK, (4) is permitted to award punitive damages under a

standard for determining liability for punitive damages that is vague and arbitrary and does not

define with sufficient clarity the conduct or mental state that makes punitive damages

permissible, (5) is not properly instructed regarding Plaintiffs’ and the putative class’ burden of

proof with respect to each and every element of a claim for punitive damages, and (6) is not

subject to trial court and appellate judicial review for reasonableness and furtherance of

legitimate purposes on the basis of constitutionally adequate and objective standards, would

violate GSK’s Due Process and Equal Protection rights guaranteed by the Fifth and Fourteenth




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Amendments to the United States Constitution, and would be improper under the constitutions,

common law and public policies of any applicable states’ laws.

                                          Fifty-Fifth Defense

        To the extent punitive damages are sought, Plaintiffs’ and the putative class’ claim for

punitive damages against GSK cannot be sustained because an award of punitive damages that is

subject to no predetermined limit, such as a maximum multiple of compensatory damages or a

maximum amount of punitive damages that may be imposed, would: (1) violate GSK’s due

process rights guaranteed by the Fifth and Fourteenth Amendments to the United States

Constitution; (2) violate GSK’s right not to be subjected to an excessive award; and (3) be

improper under the constitutions, common law and public policies of any applicable states’ laws.

                                          Fifty-Sixth Defense

        GSK adopts by reference any additional applicable defense pled by any other defendant

not otherwise pled herein.

                                        Fifty-Seventh Defense

        GSK hereby gives notice that it intends to rely upon any other and additional defense that

is now or may become available or appear during, or as a result of the discovery proceedings in

this action and hereby reserve its right to amend its answer to assert such defense. GSK also

reserves the right to assert such other and related defenses as may become available in the event

of a determination that the action, or some part thereof, is governed by the substantive law of a

state other than California, Delaware, Florida, Illinois, Louisiana, Minnesota, New Jersey, New

York, Pennsylvania, Texas, Washington and/or any other State whose law is or becomes relevant

in the course of this multidistrict litigation.




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WHEREFORE, GSK prays that this Court:

1.     Dismiss the Amended Master Consolidated Class Action Complaint with

prejudice and enter judgment in favor of GSK and against Plaintiffs;

2.     Award GSK its costs and expenses; and

3.     Grant such other and further relief for GSK as this Court deems just and proper.



                                     Respectfully submitted,



                                     BY: /s/____________________________
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DATE: April 9, 2004                  Counsel for SmithKline Beecham Corp.
                                     d/b/a GlaxoSmithKline (“GSK”)




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                              CERTIFICATE OF SERVICE

       I hereby certify that on this 9th day of April, 2004, a true and correct copy of the
foregoing document was served upon all counsel of record by electronic service pursuant to
CMO No. 2, by causing a copy to be sent to Verilaw Technologies for posting and notification.




                                         ____________________________________
                                         Attorney for Defendant SmithKlineBeecham
                                         Corporation d/b/a GlaxoSmithKline




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